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                      UNITED STATE DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

 STUDENTS FOR JUSTICE IN
 PALESTINE AT THE UNIVERSITY
 OF SOUTH FLORIDA,

      Plaintiff,

 v.                                           Case No. 1:23-cv-00281-MW-HTC

 RONALD DESANTIS, in his official
 capacity as Governor of Florida, et al,

      Defendants.

                        GOVERNOR DESANTIS’S REPLY

        The Governor’s motion explains in detail why the Governor is not a proper party

to this case. ECF 62. This Reply briefly responds to one argument made in Plaintiff’s

Combined Reply Brief in Support of a Preliminary Injunction & Opposition to

Defendants’ Motions to Dismiss (“Response”) and points out one argument not made.

ECF 67. Specifically, (i) Bennett v. Spear offers Plaintiff no shelter from the torrent of

cases in this circuit holding that Article III prevents plaintiffs from haling the Governor

into federal court to enjoin or compel the actions of other public officials, and (ii) even

if the Governor were a proper defendant, Plaintiff has waived the argument that the

Governor is not a redundant defendant.
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I.    Nothing in Bennett Suggests That Plaintiff’s Alleged Injury 1 Is Traceable
      to or Redressable by the Governor.
      The Eleventh Circuit and this Court have repeatedly held that Article III prevents

Governor DeSantis from being haled into federal court based on actions he did not,

and cannot, take. 2 Plaintiff does not dispute that the Governor lacks legal authority to

issue, or rescind, memoranda issued by the Chancellor of the Board of Governors, or

to deactivate a university’s student organizations. See Response at 17-24. Nor could it.

See art. IX, § 7(d), Fla. Const. (establishing the Board of Governors as an independent

body corporate with the authority to “operate, regulate, control, and be fully responsible

for the management of the whole university system”); §§ 1001.70 and 1001.706, Fla.

Stat. In fact, the Response admits that these actions are “within the purview of the




1
  The Governor joins the arguments made in the Board of Governors’ papers that
Plaintiff has not alleged a cognizable injury.
2
  See e.g., Support Working Animals v. Governor of Fla., 8 F.4th 1198, 1200-04 (11th Cir.
2021) (no standing against the Governor, Secretary of State, or Attorney General in suit
challenging a constitutional amendment banning greyhound racing); City of S. Miami v.
Governor, 65 F.4th 631, 640 (11th Cir. 2023) (no standing against the Governor in suit
challenging anti-sanctuary cities law enforced by local law enforcement officers and
governments); Fla. Democratic Party v. Scott, 215 F. Supp. 3d 1250, 1255 (N.D. Fla. 2016)
(no standing against the Governor to compel extension of voter registration deadline
within the discretion of the Secretary of State); Namphy v. DeSantis, 493 F. Supp. 3d
1130, 1137 (N.D. Fla. 2020) (similar); Falls v. DeSantis, No. 4:22-cv-166, 2022 WL
19333278, at *1 (N.D. Fla. July 8, 2022) (no standing against Governor in suit
challenging curriculum law enforced by the State Board of Education); Common Cause
Fla. v. DeSantis, No. 4:22-cv-109-AW-MAF, 2022 WL 19978293, at *3 (N.D. Fla. Nov.
8, 2022) (no standing against the Governor in suit challenging congressional districting
map implemented by Secretary of State); Denton v. Bd. of Governors, No. 4:22-cv-341-RH-
MAF, ECF 65, at *3-4 (N.D. Fla. June 12, 2023) (see infra).

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Board of Governors.” Response at 22.

       Nevertheless, the Response claims that a string of public comments by the

Governor, his spokesman, and others crediting him with the Memorandum are

sufficient to prove traceability and redressability under the United States Supreme

Court’s decision in Bennett v. Spear, where petitioners established Article III standing to

challenge a “biological opinion” issued by the U.S. Fish and Wildlife Service because

the opinion influenced the Bureau of Reclamation to drain the reservoirs that irrigated

their ranches. 520 U.S. 154, 167 (1997). Plaintiff’s reliance on Bennett is misplaced for

three reasons.

       First, Justice Scalia’s opinion makes clear that the statutory scheme in Bennett left

the Bureau no choice but to follow the recommendation in the Service’s biological

opinion. While the Bureau was “technically free to disregard the Biological Opinion and

proceed with its proposed action, . . . it d[id] so at its own peril (and that of its

employees), for ‘any person’ who knowingly ‘takes’ an endangered or threatened species

is subject to substantial civil and criminal penalties, including imprisonment.” Id. at 170.

Due to these penalties, the biological opinions had “virtually determinative effect.” Id.3


3
 The other two cases cited in passing by Plaintiff are similarly distinguishable. The book
publisher plaintiffs in Bantam Books overcame Ex parte Young and established Article III
standing because, while Vermont’s Commission to Encourage Morality in Youth did
not itself possess prosecutorial authority, Commission notices deeming publications
objectionable were “phrased virtually as orders” and “invariably followed up by police
visitations.” Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 68 (1963). Similarly, the plaintiffs
in Speech First, Inc. v. Cartwright established standing because while the “Just Knights


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Plaintiff, on the other hand, has not shown that the University’s Board of Trustees is

de facto required to adopt the recommendation in Chancellor Rodrigues’s

Memorandum. On the contrary, the fact that the University has not deactivated its SJP

chapter proves that the Memorandum leaves the University plenty of discretion.

Accordingly, Bennett is inapposite.

      Second, Plaintiff uses the wrong comparator. The Response likens the Governor

to the Fish and Wildlife Service and Chancellor Rodrigues to the Bureau of

Reclamation. But this analogy is flawed. The final decisionmaker in Bennett (the “action

agency,” as Justice Scalia called it) was the Bureau; the action agency here is the

University. The governmental actor that influenced the action agency in Bennett was the

Fish and Wildlife Service; the governmental actor that allegedly attempted to influence

the action agency here is Chancellor Rodrigues, by way of the Memorandum. The

Governor is alleged merely to have influenced Chancellor Rodrigues to attempt to

influence the action agency. In other words, compared to the defendant in Bennett, the

Governor is another full step removed from the action agency and the alleged injury.

The Governor’s Bennett analogue is therefore not the Fish and Wildlife Service, but the

President, who appoints the director of the Fish and Wildlife Service and who



Response Team” had no prosecutorial authority, it referred reports of “bias-related
incidents” to the office of student conduct and the police department. Speech First, Inc.
v. Cartwright, 32 F.4th 1110, 1117 (11th Cir. 2022). Here, neither Chancellor Rodrigues,
the University, nor the University’s SJP chapter face possible prosecution for not taking
the Governor’s preferred actions.

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presumably attempts to influence the director’s actions on occasion.4 See 16 U.S.C. §

742b(b). Of course, then-President Bill Clinton was not—and could not have been—a

defendant in Bennett. Among other reasons, that is because standing theories relying on

multiple inferential steps between a defendant and the alleged harm do not establish

traceability and redressability. See Falls v. DeSantis, 609 F. Supp. 3d 1273, 1283 (N.D.

Fla. 2022) (finding plaintiff teachers’ “theory of traceability and redressability flow[ing]

from the Board [of Education] to the school district, from the school district to the

teachers’ school, and—only then—to the teachers . . . simply requires too many

inferential leaps to demonstrate standing at the preliminary injunction stage”).

       Third, Plaintiff does not allege how the Governor influenced Chancellor

Rodrigues to issue the Memorandum or, by extension, how this Court could order him

to influence Chancellor Rodrigues to rescind it. In Bennett, the Fish and Wildlife Service

issued a biological opinion that had “virtually determinative effect” over the Bureau of

Reclamation’s decision of whether to lower the reservoir water levels. Plaintiff,

however, does not even speculate about which of the Governor’s action(s) was

“virtually determinative” of Chancellor Rodrigues decision to issue the Memorandum.

See Response at 21 (“[I]n the same way [the Governor] used his power and authority to

instigate the Deactivation Order, he can also use them to rescind it—or make that



4
 In fact, while the President appoints and may remove the director of the Fish and
Wildlife Service, Chancellor Rodrigues was appointed by and answers to the Board of
Governors, not Governor DeSantis. § 20.155(3), Fla. Stat.

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happen.”), 23 (“Rodrigues would have ignored DeSantis at his peril.”). This cryptic

(non)allegation is perhaps strategic, as this Court has already rejected other plaintiffs’

attempts to drag the Governor into lawsuits based on his typical means of influence,

such as his appointment and suspension powers, his veto, and the general clout that

comes with being the state’s chief executive.

      For instance, in Denton, students at Florida Agricultural and Mechanical

University (“FAMU”) brought claims under Title VI and the Equal Protection Clause

of the Fourteenth Amendment alleging, among other things, a lack of adequate

improvements in FAMU’s facilities and duplication of FAMU’s non-core programs.

Denton v. Bd. of Governors, No. 4:22-cv-341-RH-MAF, ECF 34 (N.D. Fla. Jan. 9, 2023).

The Governor, the Board of Governors (and Chancellor Rodrigues), the State Board

of Education (and Commissioner of Education Manny Diaz), and the State of Florida

were named as defendants. Like the Plaintiff here, the students argued that their alleged

injuries were traceable to and redressable by the Governor because he “appoints each

member of the BOG” 5 and “regularly presents himself as able to work the budget

process to achieve his budgetary goals and priorities, and publicly boasts of using his

official powers to spearhead initiatives.” Id. ECF 44, at *7-8 (N.D. Fla. Mar. 1, 2023).



5
  This was inaccurate. The Governor appoints fourteen members of the Board of
Governors. Art. IX, § 7(d), Fla. Const. The commissioner of education, the chair of the
advisory council of faculty senates, and the president of the Florida student association
are also members of the board. Id.; § 1001.70, Fla. Stat. The commissioner of education
is appointed by the State Board of Education. Art. IX, § 2, Fla. Const.

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This Court rejected the students’ “de facto causality” argument and dismissed the

Governor:

         [T]he proper defendants, in their official capacities, are officials who could
         remedy the violation at issue, if ordered to do so. Here, that means the
         members of the Board of Governors—all of them—and perhaps, when
         acting at the direction of the Board of Governors, the Chancellor. The
         Commissioner of Education is a proper defendant only in his capacity as
         a member of the Board of Governors. The Governor appoints
         members of the Board and recommends courses of action, often
         successfully, but he has no direct authority to take remedial action
         of the kind the plaintiffs seek. He is not a proper defendant.
Id. ECF 65, at *3-4 (N.D. Fla. June 12, 2023) (citation omitted) (emphasis added).

         So too here. While the Governor appoints members to the Board of Governors6

and occasionally recommends courses of action to the Chancellor, Chancellor

Rodrigues’s decisions are his own—they are neither traceable to nor redressable by the

Governor. Plaintiff’s contrary interpretation “would eviscerate the long-standing rule

in our Circuit—which is that, ‘when a plaintiff challenges the constitutionality of a rule

of law, it is the state official designated to enforce that rule who is the proper

defendant.’” Farmworker Ass’n, 2023 WL 8878306, at *10 (quoting ACLU v. The Fla.

Bar, 999 F.2d 1486, 1490 (11th Cir. 1993)).

         As Judge Hinkle further observed in Denton, it changes nothing whether the

Governor takes credit for influencing actions taken by other public officers. The

District Court for the Southern District of Florida came to the same conclusion in its



6
    The Chancellor is appointed by the Board of Governors. § 20.155(3), Fla. Stat.

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recent decision in Farmworker Association: “[W]e decline the Plaintiffs’ invitation to use

the Governor’s ‘championing’ of the statute as evidence of his power to enforce it. Nor

would any such rule make any sense . . . . [A] governor’s decision to advocate for a

particular policy outcome—whether good or bad, smart or unwise—tells us nothing

about his authority to enforce that policy[.]”). 2023 WL 8878306, at *10-11 (citing

ACLU v. The Fla. Bar, 999 F.2d 1486, 1490 (11th Cir. 1993); Disability Rights S.C. v.

McMaster, 24 F.4th 893, 901 (4th Cir. 2022) (holding plaintiffs lacked standing to sue

the Governor of South Carolina to challenge the Superintendent of Education’s

implementation of a facemask law as articulated by a memorandum she sent to local

school districts, despite the fact that the governor had “publicly advocated” for the

enforcement described in the memorandum)); see also Common Cause Fla. v. DeSantis, No.

4:22-cv-109-AW-MAF, 2022 WL 19978293, at *3 (N.D. Fla. Nov. 8, 2022) (“The lower

federal courts have consistently held or recognized that governors cannot be sued under

Ex Parte Young just because they have . . . publicly endorse[d] and defend[ed] the

challenged scheme.”); Support Working Animals v. Governor of Fla., 8 F.4th 1198, 1204

(11th Cir. 2021) (holding that the Attorney General’s public support for the challenged

statute did not “satisfy the traceability requirement”). This rule exists for good reason,

as one can imagine the obvious separation of powers concerns posed by a court order

purporting to tell a governor when and how he may engage in advocacy with other

public officials. In conclusion, Bennett leaves Plaintiff far short of meeting its burden to



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establish traceability and redressability.7

II.    Plaintiff Has Waived Any Argument That the Governor Is Not a
       Redundant Defendant.
       While the Response attempts to counter the argument that Chancellor Rodrigues

is a redundant defendant, see Response at 9, it does not dispute that the Governor is a

redundant defendant. A plaintiff’s failure to address an argument raised in a motion to

dismiss waives opposition to it. See, e.g., Sammons v. Sonic-N. Cadillac, Inc., No.

607CV277ORL19DAB, 2007 WL 2298032, at *2 n.2 (M.D. Fla. Aug. 7, 2007)

(“[P]laintiff’s failure to raise a legal argument on a theory in response to the defendant’s

motion to dismiss for failure to state a claim operated as a waiver of that argument.”)

(citing Lekas v. Briley, 405 F.3d 602, 614-15 (7th Cir. 2005) (“Our system of justice is

adversarial and our judges are busy people. If they are given plausible reasons for

dismissing a complaint, they are not going to do the plaintiff’s research and try to

discover whether there might be something to say against the defendants’ reasoning.”));

Sabino v. Kerzner Int’l Bahamas Ltd., No. 12-22715-CIV, 2014 WL 11878359, at *2 (S.D.

Fla. July 8, 2014) (“Plaintiff has waived this argument by failing to raise it in response

to the motion to dismiss.”); MSPA Claims 1, LLC v. First Acceptance Ins. Co., No. 16-

20314-CIV, 2017 WL 3671033, at *4 (S.D. Fla. Aug. 24, 2017) (“Plaintiff failed to


7
  The Response contains little discussion of sovereign immunity, other than admitting
that Article III imposes a higher bar for plaintiffs than the Eleventh Amendment.
Response at 25-26 (citing Russell v. Lundergan-Grimes, 784 F.3d 1037, 1047 (6th Cir.
2015)); see also Falls, 2022 WL 19333278, at *1 (observing that “the Ex parte Young
analysis is, if anything, more lenient than Article III’s traceability requirement”).

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present these arguments in response to Defendant’s motion to dismiss, so these

arguments are waived.”); Williams v. Bank of Am. Corp., No. 3:15-CV-1449-J-39MCR,

2019 WL 4016474, at *1 (M.D. Fla. July 30, 2019) (“Plaintiff does not address the merits

of Defendants’ Motion; as such, he has waived any substantive objections thereto.”).

       Because Plaintiff waived the argument that an order enjoining the University

from enforcing the Memorandum would not provide it complete relief, “[t]he prudent

course here is to dismiss the Governor,” whether he is a proper defendant or not.

Brenner v. Scott, 999 F. Supp. 2d 1278, 1286 (N.D. Fla. 2014) (citing Busby v. City of Orlando,

931 F.2d 764, 776 (11th Cir. 1991)); see also Honeyfund.com, Inc. v. DeSantis, 622 F. Supp.

3d 1159, 1174 (N.D. Fla. 2022) (dismissing the Governor because “even if Plaintiffs

had standing to sue the Governor, an order directed to the [Florida Commission on

Human Relations] . . . would be sufficient to provide complete relief”).

                                     CONCLUSION

       Plaintiff has fallen far short of its burden to establish Article III standing. In any

event, Plaintiff has made no attempt to rebut the argument that the Governor is a

redundant party. For these reasons, and those made in the Governor’s Motion to

Dismiss, the Governor should be dismissed with prejudice.




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Dated: January 23, 2024,                  Respectfully submitted,

                                          RON DESANTIS
                                          Governor

                                          /s/ Nicholas J.P. Meros
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       CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(F)

       Pursuant to N.D. Fla. Local Rule 7.1(F), I hereby certify that this Motion

complies with the Rule’s font requirements and contains 3,176 words, exclusive of the

case style, signature block, and any certificate of service.


                                                  /s/ Nicholas J.P. Meros
                                                  Deputy General Counsel




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                         CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was served

via the Court’s CM/ECF system, which provides notice to all parties, on January 23,

2024.


                                             /s/ Nicholas J.P. Meros
                                             Deputy General Counsel




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